                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


RYAN DEKEYSER, THOMAS COOPER,
HARLEY GRANIUS, AND CARLOS LOPEZ,
on behalf of themselves and others
similarly situated,

                       Plaintiffs,

       v.                                                      Case No. 08-C-0488

THYSSENKRUPP WAUPACA, INC.,
d/b/a Waupaca Foundry, Inc.,

                       Defendant.


       DECISION AND ORDER DENYING MOTION FOR RECONSIDERATION


       Defendant Waupaca Foundry, Inc. has requested this court reconsider its November 25, 2014

order in which the court ruled that in order for the plaintiffs to show changing clothes and showering

is “required by the nature of the work” at Waupaca’s foundries, Plaintiffs’ “must convince the finder

of fact that changing clothes and showering at work will significantly reduce the risk to the health

of the employee.” (ECF No. 504 at 9.) As explained below, the motion will be denied.

       Waupaca contends that the standard above, which derives from the tripartite test utilized by

the Ninth Circuit in Ballaris v. Wacker Siltronic Corp., 370 F.3d 901, 910 (9th Cir. 2004), which

itself comes from regulations promulgated after enactment of the Portal-to-Portal Act, 29 U.S.C.

§ 254, is inconsistent with the Supreme Court’s December 9, 2014 decision in Integrity Staffing

Solutions, Inc. v. Busk, — U.S. —, 135 S. Ct. 513 (2014). In Integrity Staffing the Court held that

“an activity is integral and indispensable to the principal activities that an employee is employed to

perform—and thus compensable under the FLSA—if it is an intrinsic element of those activities [i.e.



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integral] and one with which the employee cannot dispense if he is to perform his principal activities

[i.e. indispensable].” Id. at 519. Waupaca argues that Integrity Staffing has undermined the

continued viability of the tripartite test and the Integrity Staffing analysis of what it means for

something to be “integral and indispensable” to a worker’s principal activities must supplant the

tripartite test. According to Waupaca, under Integrity Staffing, “the Court must examine what

connection, if any, there is between the activities in issue, and the principal activities the workers are

employed to perform.” (ECF No. 522 at 11–12.) Waupaca argues because no such connection

exists in this case the court should dismiss the claims as a matter of law. Thus, Waupaca’s motion

is really more than one for reconsideration, since dismissal was not at issue before the court issued

the November 25, 2014 order. In any event, as I indicated at the December 23, 2014 telephone

status conference, I do not agree that Integrity Staffing changes the ultimate factual and legal issue

in this case.

        In Integrity Staffing, the Court held that employees’ time spent waiting in line and

undergoing employer-mandated security screenings at the end of each workday was not

compensable. In so ruling, the court reversed the Ninth Circuit’s decision, which stated that

“postshift activities that would ordinarily be classified as noncompensable postliminary activities are

nevertheless compensable as integral and indispensable to an employee's principal activities if those

postshift activities are necessary to the principal work performed and done for the benefit of the

employer.” 135 S.Ct. at 516 (emphasis added). The Court noted that it “has consistently interpreted

‘the term ‘principal activity or activities’ [for purposes of compensability under the Portal-to-Portal

Act] [to] embrac[e] all activities which are an ‘integral and indispensable part of the principal

activities.’” Id. at 517 (quoting IBP, Inc. v. Alvarez, 546 U.S. 21, 29–30 (2005) and Steiner v.


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Mitchell, 350 U.S. 247, 252–53 (1956)). The Integrity Stafftng Court elaborated:

       Our prior opinions used those words in their ordinary sense. The word “integral”
       means “[b]elonging to or making up an integral whole; constituent, component;
       spec[ifically ] necessary to the completeness or integrity of the whole; forming an
       intrinsic portion or element, as distinguished from an adjunct or appendage.” And,
       when used to describe a duty, “indispensable” means a duty “[t]hat cannot be
       dispensed with, remitted, set aside, disregarded, or neglected.” An activity is
       therefore integral and indispensable to the principal activities that an employee is
       employed to perform if it is an intrinsic element of those activities and one with
       which the employee cannot dispense if he is to perform his principal activities. As
       we describe below, this definition, as applied in these circumstances, is consistent
       with the Department of Labor's regulations.

       Our precedents have identified several activities that satisfy this test. For example,
       we have held compensable the time battery-plant employees spent showering and
       changing clothes because the chemicals in the plant were “toxic to human beings”
       and the employer conceded that “the clothes-changing and showering activities of the
       employees [were] indispensable to the performance of their productive work and
       integrally related thereto.” [Steiner, 350 U.S. at 249, 251]. And we have held
       compensable the time meatpacker employees spent sharpening their knives because
       dull knives would “slow down production” on the assembly line, “affect the
       appearance of the meat as well as the quality of the hides,” “cause waste,” and lead
       to “accidents.” By contrast, we have held noncompensable the time poultry-plant
       employees spent waiting to don protective gear because such waiting was “two steps
       removed from the productive activity on the assembly line.”

Id. 517–18 (citations omitted).

       The Court applied these standards to the security screenings and held they were not principal

activities because the employer obviously did not employ its workers to undergo security screenings.

The Court also found the screenings were not “integral” because they were not an intrinsic element

of retrieving products from warehouse shelves or packing them for shipment (which were the

employees’ principal activities), and that the screenings were not “indispensable” because the

employer could have eliminated the screenings altogether without impairing the employees’ ability

to complete their work. Id. at 518. The Court also explained its rejection of the Ninth Circuit’s



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approach, which focused on whether the employer required a particular activity: “If the test could

be satisfied merely by the fact that an employer required an activity, it would sweep into ‘principal

activities’ the very activities that the Portal-to-Portal Act was designed to address.” Id. at 519.

        Justice Sotomayor, joined by Justice Kagan, joined the Court’s opinion but wrote separately

“to explain [her] understanding of the standards the Court applies.” Id. at 520 (Sotomayor, J.,

concurring). Justice Sotomayor noted:

        [T]he Court confirms that compensable “ ‘principal’ ” activities “ ‘includ[e] ... those
        closely related activities which are indispensable to [a principal activity's]
        performance,’ ” and holds that the required security screenings here were not
        “integral and indispensable” to another principal activity the employees were
        employed to perform. I agree. As both Department of Labor regulations and our
        precedent make clear, an activity is “indispensable” to another, principal activity only
        when an employee could not dispense with it without impairing his ability to
        perform the principal activity safely and effectively. Thus, although a battery plant
        worker might, for example, perform his principal activities without donning proper
        protective gear, he could not do so safely, [citing Steiner]; likewise, a butcher might
        be able to cut meat without having sharpened his knives, but he could not do so
        effectively[.]

Id. at 519–20 (Sotomayor, J., concurring) (citations omitted) (emphasis added).

        There is no question that the principles discussed in Integrity Staffing apply to this case. The

Supreme Court is interpreting the same statutory provisions, regulatory framework and body of

Supreme Court case law, including Steiner, as this court and the parties have been since this case

started. It is also true that Integrity Staffing provides significant guidance to applying the “integral

and indispensable” language the Court first articulated in Steiner. Integrity Staffing clarifies that

these words each mean different things—as set forth above, “integral” is akin to intrinsically related

to and “indispensable” akin to necessary. It is for this reason that determining compensability solely

on the basis of whether an employer requires an activity is wrong; such an analysis ignores the



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requirement that the activity be integral or intrinsically related to what the employer hired the

workers to do. Likewise, “[a] test that turns on whether the activity is for the benefit of the

employer is similarly overbroad.” Id. at 519.

       At the same time, Integrity Staffing did not relate to employee health and safety. So much

is clear from the facts of the case, but the concurring opinion highlights that extrapolating the

Court’s reasoning to hold as non-compensable activities that are indispensable/necessary for

employees to do their jobs safely would not be warranted. It would also run contrary to Steiner and

the applicable regulations the Integrity Staffing Court discussed. In effect, as was true when this

case began, what was conceded by the employer in Steiner is at issue here: is changing and

showering at work integral and indispensable to the employee’s productive work? This court has

provided a narrower, more specific standard in an effort to assist the parties in determining,

essentially, how indispensable a health and safety precaution must be to bring a case within the ambit

of Steiner such that the time is compensable notwithstanding the Portal-to-Portal Act. The standard

is that the changing and showering is integral and indispensable if “required by the nature of the

work”—in other words, if “changing clothes and showering at work will significantly reduce the risk

to the health of the employee.” (ECF No. 504 at 9.)

       It is therefore ordered that Waupaca’s motion for reconsideration is denied.

       Dated at Green Bay, Wisconsin this 9th day of March, 2015.

                                              s/ William C. Griesbach
                                              William C. Griesbach, Chief Judge
                                              United States District Court




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